                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW MEXICO

In re:

LAS UVAS VALLEY DAIRIES,                                               No. 17-12356-11
a New Mexico general partnership,

          Debtor.

UNSECURED CREDITOR COMMITTEE’S NOTICE OF TELEPHONIC DEPOSITION
 AND REQUEST FOR PRODUCTION OF DOCUMENTS PURSUANT TO RULE 7030

TO:      Jonathan W. Joy and Las Uvas Valley Dairies
         c/o George M. Moore and Daniel J. Behles,
         Askew & Mazel, LLC
         1122 Central Ave. SW, Suite 1
         Albuquerque, New Mexico 87102

         PLEASE TAKE NOTICE that pursuant to Rule 7030 of the Federal Rules of Bankruptcy

Procedure, the Unsecured Creditors Committee (“UCC”),intends to take the oral, telephonic

deposition of Jonathan W. Joy, as representative of the Debtor, Las Uvas Valley Dairies

("Debtor"), and in his individual capacity. The examination will be conducted telephonically by

calling 888-809-5018, passcode 5058481871 and recorded stenographically before a certified

Court Reporter on May 31, 2018 at the offices of Modrall Sperling, Roehl, Harris & Sisk, P.A.,

500 Fourth Street NW, Suite 1000, Albuquerque, New Mexico, 87103-2168 ("Modrall Firm"),

beginning at 10:30 a.m. MDT, and will continue thereafter from day to day until completed. The

examination will include, among other things, the following subjects: (i) Debtor's financial

records; (ii) contracts and leases of the Debtor; (iii) the assets and liabilities of the Debtor; (iv)

the Debtor's general business operations, and the Debtor's Motion for Order Authorizing Auction

Sale of Physical Sale of Assets.




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       Pursuant to Rule 7030(b)(2), the UCC further requests that the Debtor, Las Uvas Valley

Dairies, on or before 3:00 p.m. on May 25, 2018, to the extent not previously produced, produce

for inspection and copying the requested documents referred to in Exhibit "A" at the offices of

the Modrall Firm.

       DATED: May 21, 2017

                                                  MODRALL SPERLING LAW FIRM

                                                  By: /s/ Spencer L. Edelman
                                                  Paul M. Fish
                                                  Spencer L. Edelman
                                                  P.O. Box 2168
                                                  Albuquerque, NM 87103-2168
                                                  Telephone: 505.848.1800

                                                  ATTORNEYS FOR UCC



In accordance with NM LBR 9036-1 and
Fed. R. Civ. P. 5(b)(2)(D), this certifies that
service of the foregoing document was made
this 21st day of May, 2018, via the
notice transmission facilities of the case
management and electronic filing system
of the Bankruptcy Court.

By:    /s/ Spencer L. Edelman
       Spencer L. Edelman




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                                       EXHIBIT "A"

                               DOCUMENTS TO BE PRODUCED

1.    All 2015 and 2016 tax returns for the Debtor;

2.    Financial Statements for the Debtor for 2015 and 2016;

3.    QuickBooks Portable Company File or Excel copies of the following Quickbook Reports
      for the period encompassing January 1, 2015 through the date of production: Sales by
      Customer Detail, Adjusting Journal Entries, Journal, Deposit Detail, Check Detail,
      Payroll Summary Transaction List by Vendor, and Transaction List by Customer;

4.    Copies of the Debtor's bank statements from September 2016 to September 2017;

5.    Copies of all payroll tax returns of the Debtor from September 2016 to September 2017;

6.    Copies of quarterly reports prepared by Genske, Mulder & Co., LLP in 2015, 2016 and
      2017;

7.    Documents showing number of employees for the pay periods from January 1, 2017
      through September 14, 2017;

8.    Property tax records of the Debtor including bills and receipts for payments for 2017;

9.    Amended Monthly Rations Report reflecting change described in Jim Roggow's letter
      dated April 17, 2018 to Dan Behles attached at Exhibit "B"; Debtor states it has produced
      report.

10.   Amended Monthly Inventory reflecting revised inventory as described in Exhibit "B";
      Debtor states it has produced report.

11.   All contracts relating to the purchase of the “pre-paid feed” by the Debtor as disclosed
      on the last filed monthly operating report, including payments, amounts, tonnage
      delivered at what time, the costs for the amount delivered and the costs for the amounts
      outstanding for all of the pre-paid feed. Debtor has indicated there are no contracts.

12.   All contracts relating to the current purchase of the “pre-paid feed” by the Debtor,
      including payments, amounts, tonnage delivered at what time, the costs for the amount
      delivered and the costs for the amounts outstanding for all of the pre-paid feed Debtor has
      indicated there are no contracts.




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